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Fill in this information to identify your case:
Debtor 1               Robert Daniel Everett Gould, Jr.
                       First Name      Middle Name                  Last Name
Debtor 2               Brenda Jean Gould
                       First Name      Middle Name                  Last Name
                                                                                                                 Check if this is an amended plan, and
United States Bankruptcy Court for the District of Idaho                                                         list below the sections of that plan
                                                                                                                 that have been changed.
                                                                                                                 3.1, 3.6, 8.1
Case number:           19-40182-JMM


Third Amended Idaho Form Chapter 13 Plan                                                                                                         1/19
 Part 1: Notices
To Debtors:         This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                    indicate that the option is appropriate in your circumstances. Plans that do not comply with local rules and judicial
                    rulings may not be confirmable.
                    In the following notice to creditors, you must check each box that applies.
To Creditors:       Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                    You should read this plan carefully and discuss it with your attorney. If you do not have one, you may wish to consult one.
                    If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                    confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the bankruptcy court.
                    The bankruptcy court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule
                    3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.
                    The following matters are of particular importance. Debtors must check one box on each line to state whether or not the plan
                    includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will
                    be ineffective if set out later in the plan.
 1.1     A limit on the amount of a secured claim, set out in Section 3.2, which may result in a           Included                 Not included
         partial payment or no payment at all to the secured creditor
 1.2     Avoidance of a judicial lien or nonpossessory, nonpurchase money security interest,               Included                 Not included
         set out in Section 3.4.
 1.3     Nonstandard provisions, set out in Part 8.                                                        Included                 Not included

1.4        Discharge: Debtor 1 is eligible for discharge of debts                                           Eligible                 Not eligible
           Discharge: Debtor 2 is eligible for discharge of debts                                           Eligible                 Not eligible

Part 2:     Plan Payments and Length of Plan

2.1        No later than thirty (30) days after the date the bankruptcy petition is filed or the case converted to Chapter 13, debtor(s) will
           commence making regular payments to the trustee as follows: $450 per Month for 60 months
           The Applicable Commitment Period is 36 months. Debtor(s) may not pay off this plan in less than the term of the plan without notice to
           interested parties and an opportunity for hearing before the court unless the plan pays all allowed unsecured claims in full.

2.2        Regular payments to the trustee will be made from future income in the following manner:
           Check all that apply:
                    Debtor(s) will make payments pursuant to a payroll deduction order.
                    Debtor(s) will make payments directly to the trustee.
           Debtor(s) acknowledge that if the debtor(s) is/are ever more than thirty (30) days delinquent on any payment due under this Section 2.1,
           upon request of the trustee, or request of the debtor(s) at any time, a payroll deduction order to debtor(s)’ employer may immediately be
           issued.

2.3        Income tax refunds.
           Check one.
                   Debtor(s) will retain any income tax refunds received during the plan term.
                   Debtor(s) project income tax refunds during the term of this plan. During the Applicable Commitment Period, debtor(s) will turn
                   over to trustee all net income tax refunds. At any time during the term of the plan, debtor(s) shall be entitled to use a tax refund
                   to pay taxes due any other income taxing authority and/or reasonable tax return preparation fees, unless already budgeted. Upon
                   a stipulation between the trustee and the debtor(s), approved by an order of the court, the debtor(s) may retain, in whole or in
                   part, certain net income tax refunds during the term of the plan to facilitate the terms of this plan or to meet other reasonable and
                   necessary needs of the debtor(s).
                   Debtor(s) will treat income tax refunds as follows:

2.4        Additional payments.
           Check one.
                   None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
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2.5        The trustee, for cause, may defer not more than two monthly payments per calendar year and not more than four payments over
           the term of the plan, without further notice to parties or a hearing before the court.

Part 3:    Treatment of Secured Claims

3.1        Maintenance of payments and cure of default, if any.
           Check one.
                   None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

3.2      Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.
         Check one.
                 None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                 The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured
                 claim listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of
                 secured claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim
                 listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each
                 listed claim, the value of the secured claim will be paid in full with interest at the rate stated below in equal monthly installments
                 over the term of the plan.
                 The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
                 of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
                 treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
                 creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.
                 The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the
                 property interest of the debtor(s) or the estate(s) until the earlier of:
                       (a) payment of the underlying debt determined under nonbankruptcy law, or
                       (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the
                           creditor.
                 For each creditor listed in this section 3.2 the debtor(s) will serve notice on such creditor as required in Bankruptcy Rule
                 7004 and file a proof of service with the court. Request for valuation of security in which creditors hold an interest must
                 be made consistent with Rule 3012.
  Name of        Estimated              Collateral              Value of        Amount of claims        Amount of        Interest rate Estimated total
   creditor      amount of                                     collateral             senior to       secured claim                       of monthly
               creditor's total                                                   creditor's claim                                         payments
                    claim
Ace                              2014 Honda
Financial      $2,840.29         Pilot                    $14,725.00                       $0.00       $2,840.29            5.00%            $3,215.96

 3.3       Secured claims excluded from 11 U.S.C. § 506.
           Check one.
                   None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4        Lien avoidance.
           Check one.
                   None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5        Surrender of collateral.
           Check one.
                   None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

3.6    Adequate Protection Payments.
       Check one
                 None. If “None” is checked, the rest of § 3.6 need not be completed or reproduced.
                 No later than thirty (30) days after the date the bankruptcy petition is filed or the case converted to Chapter 13, the trustee shall
                 commence making adequate protection payments on allowed claims to the following creditor(s) until confirmation.
                 No later than thirty (30) days after the date the bankruptcy petition is filed or the case converted to Chapter 13, the debtor(s) shall
                 commence making payments on allowed claims of secured creditors, in an amount sufficient to provide adequate protection,
                 directly to the creditor(s) until confirmation. The payments made under this subsection shall reduce the amount owed under the
                 plan. The debtor(s) shall timely provide the trustee evidence of such payments, including the amount and date of the payments.
Name of creditor                                   Collateral                                                          Adequate Protection Payment
Ace Financial                                      2014 Honda Pilot                                                                           Per Plan

3.7        Post-Petition Real Property Tax Payments.
           Check one.
              None. If “None” is checked, the rest of § 3.7 need not be completed or reproduced.


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Part 4:    Treatment of Fees and Priority Claims

4.1        General
           Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
           without post-petition interest.

4.2        Trustee’s fees
           Trustee’s fees are governed and paid as provided by 28 U.S.C. § 586.

4.3        Attorney's fees.
           Check one.
                   Model Retention Agreement Cases
           Debtor(s)’ attorney has elected to charge a fixed fee pursuant to the Model Retention Agreement, Local Rule 2016, of $              (not to
           exceed $4,000), exclusive of costs. Said attorney has received $         prior to the filing hereof and is to be paid the remaining amount in
           monthly payments over the initial          months of distribution or in such longer period as is required to allow the trustee to make the set
           monthly installments as set forth in this plan.
                   Non Model Retention Agreement Cases
           Fees and costs to the debtor(s)’ attorney in an amount to be proven and allowed by the court but not to exceed $7,000.00 .
           This is in addition to the fee retainer paid pre-petition in the amount of $490 .
               a) payable in equal monthly installments over the initial       months of distribution, or in such longer period as is required to allow the
           trustee to make the set monthly installments.
               b) payable as funds become available.

4.4        Priority claims other than attorney’s fees and those treated in § 4.5.
           Check one.
                    None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
                    The debtor(s) estimate the total amount of other priority claims to be $0.00 payable in equal monthly installments over the term
                    of the plan.
                    The debtor(s) estimate the total amount of other priority claims to be $121.00 payable as funds become available after set
                    monthly installments pursuant to the plan are made..

4.5        Domestic support obligations.
           Check one.
                   None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
                   The debtor(s) is/are current on domestic support obligations and will continue to make post-petition payments pursuant to the
                   support order.
                   Unsecured claims for domestic support obligations allowed under 11 U.S.C. § 507(a)(1)(A), which are estimated to be $          ,
                   shall be paid in equal monthly installments over the term of the plan. The debtor(s) will continue to make post-petition payments
                   pursuant to the support order.
                   Unsecured claims for domestic support obligations allowed under 11 U.S.C. § 507(a)(1)(B) shall be paid in equal monthly
                   installments over the term of the plan. The allowed priority claims listed below are based on a domestic support obligation that
                   has been assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim under 11 U.S.C. §
                   1322(a)(4). This plan provision requires that payments in § 2.1 be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).
           Name of creditor                                                          Amount of claim to be paid
           Dept of Health & Welfare                                                  $0.00

Part 5:    Treatment of Nonpriority Unsecured Claims

5.1        Nonpriority unsecured claims not separately classified.
           Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata from, the funds remaining after disbursements
           have been made to all other creditors provided for in this plan.

5.2        Maintenance of payments and cure of any default on nonpriority unsecured claims.
           Check one.
                   None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3        Other separately classified nonpriority unsecured claims.
           Check one.
                   None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

Part 6:    Executory Contracts and Unexpired Leases

6.1        The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
           contracts and unexpired leases are rejected.
           Check one.
                    None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

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Part 7:      Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor(s) upon
           Check the appliable box:
            plan confirmation.
            entry of discharge.
            other:

Part 8:      Nonstandard Plan Provisions

8.1     Check "None" or List Nonstandard Plan Provisions
                 None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
        Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise
        included in the Idaho Form Chapter 13 Plan or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective
        unless noted in this Part 8.
        The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.
Debtors will retain pro rata exempt portions of 2018 and 2019 tax refunds based on case filing date.
Pre-petition garnishment funds paid directly to Trustee may be treated as a payment toward plan payments.
Debtors, pursuant to Court order, are not treating the lien of Lois Rieke in any fashion.


Part 8:      Signatures

9.1        Signatures of Debtor(s) and Debtor(s)’ Attorney

X     /s/ Robert Daniel Everett Gould, Jr.                            X      /s/ Brenda Jean Gould
      Robert Daniel Everett Gould, Jr.                                       Brenda Jean Gould
      Signature of Debtor 1                                                  Signature of Debtor 2

      Date             27 February 2020                                      Date         27 February 2020

X     /s/ Paul Ross                                                   Date     27 February 2020
      Paul Ross 8676
      Signature of Debtor(s) Attorney

By filing this document, the Debtor(s), if not represented by an attorney, or debtor(s) attorney also certify(ies) that the wording and order of
the provisions in this Chapter 13 plan are identical to those contained in Idaho Form Chapter 13 Plan, other than any nonstandard
provisions included in Part 8.




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